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1                     IN THE UNITED STATES DISTRICT COURT
2                    FOR THE EASTERN DISTRICT OF CALIFORNIA
3

4
     UNITED STATES OF AMERICA,        )   NO. CR. S. 05-00053 DFL
5
                                      )
                Plaintiff,            )
6
                                      )       ORDER
          v.                          )
7
                                      )
     ELMER STEWART,                   )
8
                                      )
                Defendant.            )
9
                                      )

10        On April 20, 2006, in the matter of the United States v.

11   Elmer Stewart, case number CR. S. 05-00053-DFL, this Court

12   sentenced the defendant to a 37-month term of incarceration, a

13   special assessment of $100, and a 60-month term of supervised

14   release following incarceration.         The Court found that the

15   defendant does not have the ability to pay a fine, and the

16   imposition of a fine was waived.         In addition to the standard

17   conditions of supervised release, the Court adopted the special

18   conditions recommended by the probation officer.         The Court also

19   recommended that the defendant participate in the 500-hour

20   substance abuse treatment program offered by the Bureau of

21   Prisons.   Finally, the Court recommended that the defendant be

22   incarcerated in a California institution, but only insofar as the

23   recommendation accords with security classification and space

24   availability.

25        The Court makes the following factual findings with regard

26   to the defendant’s sentence:

27   1.   Defendant Elmer Stewart appeared for Judgment and Sentencing

28        before this Court on April 20, 2006.

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1    2.   The United States admitted to the Court that it would not be
2         able to prove at trial beyond a reasonable doubt that the
3         approximately three grams of cocaine base found in the
4         pocket of the defendant’s flannel shirt located in his
5         bedroom closet was for distribution.        It is arguable that
6         the cocaine base found in the defendant’s possession was for
7         his own personal use, given his drug history.         For this
8         reason, the three grams of cocaine base were not included in
9         the drug quantity used to calculate the defendant’s sentence
10        under the advisory United States Sentencing Guidelines.
11   3.   The drug quantity used to calculate the defendant’s sentence
12        was 19.33 grams of cocaine base.        This quantity is
13        consistent with the amount used to calculate the sentence of
14        the co-defendant in this case, Theodore Stovall.
15   4.   The base offense level for 19.33 grams of cocaine base is
16        26, pursuant to U.S.S.G. § 2D1.1(c)(7).
17   5.   Three levels were subtracted from the base offense level for
18        the defendant’s acceptance of responsibility, pursuant to
19        U.S.S.G. §§ 3E1.1(a), (b).         Under this calculation, the base
20        offense level is 23.
21   6.   Two levels were subtracted from the base offense level of 23
22        pursuant to the “safety valve” provision of U.S.S.G.
23        § 2D1.1(b)(7), the defendant having met all the criteria as
24        set forth in subdivisions (1)-(5) of subsection (a) of
25        U.S.S.G. § 5C1.5.
26   7.   The defendant’s total offense level for sentencing is 21.
27   8.   The defendant’s Criminal History Category is I, pursuant to
28        U.S.S.G. § 4A1.1.

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1    9.   The advisory Sentencing Guideline range for Defendant Elmer
2         Stewart is 37-46 months incarceration.
3         IT IS SO ORDERED.
4

5    DATED:    April 21, 2006
6

7                                  /s/ David F. Levi
                                   HONORABLE DAVID F. LEVI
8                                  CHIEF UNITED STATES DISTRICT JUDGE
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